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           EXHIBIT H
                               Case 2:23-cv-02802-WBS-CKD
From:                                            Scott Love                   Document 1-8 Filed 12/04/23 Page 2 of 5
Sent:                                           Thursday, February 23, 2023 10:05 PM
To:                                               Katrina Laws-Ewald; Lana Harman; Viriana Hernandez-Leon; Gaby Magallanes; Glen Uno; Margaret
                                             Pelrine; Joan Tuss; Steven Klein; Amy Ponce; Miguel Perez; Joseph Piette; Ruby Buentello; Emily
                                             Masuda; Leah Theis; Sue Billing; Huda Abdelnur; Marcos Alvarez; Emma Arntzen; Emily Masuda;
                                             Crystal Brunelle; Megan Curione; Morgan Curtis; Alondra Sanchez Diaz; Maureen Driscoll; 'Claire
                                             Drown'; Arlen Feldwick-Jones; Victoria Findlay; Aedyn Gravely; Evelyn Ho; 'Catherine Lai'; Diego
                                             Magallanes; Eugene Myers; 'Shalissa Narbaiz'; 'J. Ng'; Andrea Cervantes; 'Ines Ruiz'; Andrea Santos;
                                             Noah Sharp; Damieka Thomas; 'Kyle Watkins'; Alissa Wilhoit
Cc:                                               Crista Cannariato; Diana Lopez
Subject:                                     Brave Books Event at Davis Library on Saturday, 02/25/2023
Attachments:                          Brave Books Event Letter to Staff-FINAL.pdf

Dear Davis Library Staff,

I wanted to reach out to
you regarding an upcoming use of the Blanchard Room. A library patron has
reserved the room from 4-7 pm on Saturday, February 25 for a “Brave Books Story
Hour” sponsored by Moms for Liberty, an anti-LGBTQIA, anti-woke, anti-critical
race theory nonprofit group. This is NOT a library-sponsored event.
Why can this group use
the meeting room? According to the Library Meeting Room Policy:
         In those branches
         with meeting rooms, it is the policy of the Yolo County Library to provide
         facilities for meetings of not-for-profit groups…In adopting this policy, it is
         the intent of the Library to support the Library
         Bill of Rights,
         Article Six, “Libraries which make exhibit spaces and meeting rooms available
         to the public they serve should make such facilities available on an equitable
         basis, regardless of the beliefs or affiliations of individuals or groups
         requesting their use.” Permission to use Yolo County Library facilities is not
         an endorsement or sponsorship of any group, individual, organization or event.
The
Yolo County Library meeting room policy is posted on our website at:
www.yolocounty.org/home/showdocument?id=44019


The
Davis Branch meeting room policy is posted on our website at: www.yolocounty.org/home/showdocument?id=31558


The Meeting Room Policy
also includes some restrictions, which may be relevant as “Brave Books” is a
publisher of religious, anti-LGBTQIA, anti-woke children’s books. The event
coordinator has been told they are not allowed to sell books.
         Meeting rooms may NOT be

                                                                                                             Exhibit H, Page 1
        reserved for:
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                        ·        
                        the benefit of a
                        private individual;
                        ·        
                        a political rally or
                        campaign for or against a specific ballot issue or candidate, (viewpoint
                        neutral political forums may be allowed);
                        ·        
                        a commercial concern;
                        ·        
                        money raising programs
                        (with the exception of Friends groups, where the proceeds benefit the Library);
What’s the difference
between a Library-sponsored program and a meeting room reservation/use?
A Library-sponsored
program is an event that is organized and promoted by library staff. Library
staff also work with our Friends groups and Library Foundation to fund
programs. These are considered Library-sponsored programs. Organizations and
agencies may submit requests for the Library to partner with them, e.g., Building Community Ferment, in
partnership with the Master Gardeners. Library partners are determined by
agreements between the organization and the Library. Requests for partnership may be sent to the County
Librarian. Determination of suitability for partnership rests with the County
Librarian or their designee. This is not sponsored by the Friends of the Davis
Library or the Library Foundation. Library budget funding was also not used. It
is in no way a Library event nor are we endorsing it.
Key staff are working
closely with County Counsel, the CAO’s office, the Board of Supervisors, the
City of Davis, and County law enforcement to ensure that, while First Amendment
rights are upheld, the safety of library staff and patrons is of utmost importance.
I recognize that the presence of this group at the library and an event of this
nature may cause staff to feel unsafe, and so we are offering the following
supports:
            ·        
            Staff who are
            scheduled to work at the library on Saturday may work with the Regional
            Supervisor or Manager to adjust their schedule to work a different day, or to
            work on an assignment in the back room for the duration of the program.
            ·        
            Staff are welcome to
            request a meeting with Diana, Scott, or Crista.
            ·        
            Staff are encouraged
            to take advantage of the Employee Assistance Program (EAP) for additional support:
                        o    Call: (833) 954-1067
                                                                                                     Exhibit H, Page 2
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                       o    Visit: anthemEAP.com – company name = “PRISM”

                       o    Contact: hr             for guidance or questions
           ·        
           If at any point
           throughout the day, you do not feel safe, please let a PIC know. Staff will
           work with you to support your needs.
           ·        
           If you encounter any
           hate speech or behavior that goes against the Library Code of Behavior, please report it to a PIC immediately. No
           one should have
           to tolerate disrespect.
           ·        
           If a member of the
           media comes, please let a PIC know immediately, and if they ask questions about
           the event, please have the PIC find Scott, or Crista if Scott is unavailable.
           If neither are available, I will be around but not at the event. Call my cell
           phone at                  . Otherwise ask them for a business card and tell them we
           will get back to them as soon as possible.
Additionally, to support
staff and library patrons, we are providing the following LGBTQIA-affirming
materials:
           ·        
           Book display
           ·        
           LGBTQIA+ resources
           bookmark
           ·        
           LGBTQIA+ bibliography
           ·        
           LGBTQIA+ flag buttons
If event participants
ask why we are providing/displaying these materials, you can let them know that
the library provides book suggestions, displays, and resources on a variety of
topics, in accordance with our mission and vision.
We have been informed
that a local LGBTQIA+ support group is planning to table outside the library.
This activity is allowable. Library buildings and grounds are limited public
forums for free speech activities under the First Amendment to the United States
Constitution.
You may get questions
from patrons and community members as to why this group has been allowed to
table at the Library. Here are some talking points:
           ·        

                                                                                                 Exhibit H, Page 3
              The library
                     Case allows
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              individuals and organizations to table outside the library, providing they:
                     o Do not harass or obstruct library users, and do not use
                     hate speech; and
                     o take up only a minimal footprint and follow library
                     management instruction on where they may table.
              ·
              If a patron reports
              that they feel harassed, obstructed or intimidated by anyone inside or outside
              the building, please report it to a PIC immediately.
              ·
              A person disagreeing
              with the views of another does NOT constitute harassment, as long as it does
              not include hate speech.


Hate speech refers to offensive discriminatory language that attacks or uses discriminatory language with reference to a person
or a group on the basis of who they are, in other words, based on their religion, ethnicity, nationality, race, color, descent,
sexual orientation, gender or other identity.

We do not
anticipate any disorderly activities but want you to know that Scott, Crista,
and I are available to support you. We value your hard work and dedication to
serving the Davis community and all that you do to support each other as a
team. Thank you to Scott, Crista, and Elizabeth for assisting me with this
communication.

In
Solidarity,
Diana




Diana Lopez
(she/her)
County Librarian │Chief Archivist
Yolo County Library

Shipley Walters Center for Yolo County Archives and Library Services
                   │ Woodland, CA 95695
Office:              │Mobile:

We acknowledge that we are on the traditional territory and homelands of the Yocha Dehe Wintun Nation. For more
information, visit: https://yochadehe.org




                                                                                                Exhibit H, Page 4
